         Case 5:21-cv-00616-JWH-SP Document 17 Filed 04/16/21 Page 1 of 4 Page ID #:73

Name and address:
                      DEREK M. BAST
                      WAGNER HICKS PLLC
                      831 E. MOREHEAD ST., SUITE 860
                      CHARLOTTE, NC 28202

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER 5:21-CV-00616-JWH-SP
      GOLDWATER BANK. N.A.
                                                         Plaintiff(s),
                 V.

     ARTUR ELIZAROV, UNISON AGREEMENT CORP., and                              APPLICATION OF NON-RESIDENT ATTORNEY
                                                                                    TO APPEAR IN A SPECIFIC CASE
        SCOTT HOWELL                                  Defendant(s),                        PROHACVICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-statefederal government attorneys are not required to pay the $500fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
 BAST, DEREK M
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney □
 WAGNER HICKS PLLC
Firm/Agency Name
 831 E. MOREHEAD STREET, SUITE 860                                       (704) 705-8311                       (704) 525-0600
                                                                         Telephone Number                     Fax Number
Street Address
 CHARLOTTE, NC 28202                                                     derek.bast@wagnerhicks.law
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
 Goldwater Bank, N.A.                                                    18( Plaintiff(s) D Defendant(s) D Other: ---------
                                                                         □   Plaintiff(s) D Defendant(s) D Other:
                                                                                                                  ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name ofCourt                           Date ofAdmission            Active Member in Good Standing? (if not, please explain)
 North Carolina State Court                           08/28/2015                  Yes
 North Carolina - Western District                    01/03/2018                   Yes
 North Carolina - Middle District                     06/22/2020                  Yes
U.S. Court of Appeals - Ninth Circuit                 02/27/2020                   Yes
G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 1 of3
         Case 5:21-cv-00616-JWH-SP Document 17 Filed 04/16/21 Page 2 of 4 Page ID #:74

List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed) :
        Case Number                                     Title ofAction                             Date ofApplication        Granted I Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II -CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice oflaw, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated   April N 2021                                    Derek M. Bast




G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                             Page 2 of3
         Case 5:21-cv-00616-JWH-SP Document 17 Filed 04/16/21 Page 3 of 4 Page ID #:75


SECTION III - DESIGNATION OF LOCAL COUNSEL
 Maurice, Marie
Designee's Name (Last Name, First Name & Middle Initial)
 IVIE McNEILL WYATT PURCELL & DIGGS
Firm/Agency Name
                                                                   (213) 489-0028                        (213) 489-0552
 444 S. FLOWER STREET, 18TH FLOOR                                  Telephone Number                     Fax Number

Street Address                                                     mmaurice@imwlaw.com
 LOS ANGELES, CA 90071                                             Email Address

City, State, Zip Code                                              S.B.N.: 258069
                                                                   Designee's California State Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated    04/14/2021
                                                                   Marie~
                                                                   Designee~


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)




G-64 (09/20)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                       Page 3 of3
Case 5:21-cv-00616-JWH-SP Document 17 Filed 04/16/21 Page 4 of 4 Page ID #:76




               I, Alice Neece Mine, Secretary of the North Carolina State Bar,

                                    do hereby certify that

                            Mr. Derek Martin Bast (Bar# 49069)

      was licensed to practice law by the State of North Carolina on August 28, 2015.

 Said lawyer is presently an active member of the North Carolina State Bar and is eligible to
                                practice law in North Carolina.

  Said lawyer is not subject to a pending order of administrative or disciplinary suspension.

                Said lawyer's financial account with the State Bar is current.

        Therefore, said lawyer is in good standing with the North Carolina State Bar.


              Given over my hand and the Seal of the N01ih Carolina State Bar,
                              this the 5th day of April, 2021.




                                     Alice Neece Mine
                          Secretary of the North Carolina State Bar
